Case 1:11-cv-00119-CWD Document 127 Filed 07/26/13 Page 1 of 4

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
DIANA and JOSEPH
ABRAMOWSKI on behalf of Case No. 1:11-cv-00119-CWD
themselves and as legal guardians and
' parents of MATTHEW

ABRAMOWSKI, a minor individual
with a disability,

Plaintiffs,
Vv.
MERIDIAN JOINT SCHOOL
DISTRICT NO. 2; and
INDEPENDENT SCHOOL
DISTRICT OF BOISE CITY,

Defendants.

 

 

SPECIAL VERDICT FORM

We, the jury, answer the questions submitted to us in the special verdict as follows:

QUESTION NO. 1: Was Plaintiff, Matthew Abramowski, denied a free and

appropriate public education by the Boise School District?

SPECIAL VERDICT - 1

ANSWER: YES __ NOX
Case 1:11-cv-00119-CWD Document 127 Filed 07/26/13 Page 2 of 4

If you answered “Yes” to Question No. 1, then proceed to Question No. 2. If you

answered “No,” then go to Question No. 6.

QUESTION NO. 2: Did Defendant Boise School District discriminate against
Matthew Abramowski intentionally or with deliberate indifference by failing to provide

Matthew with a free and appropriate public education?

ANSWER: YES NO___
Lf you answered “Ves” to Question No. 2, then proceed to Question No. 3. If you
answered “No,” then proceed to Question No. 6.
QUESTION NO. 3: Did Plaintiffs sustain damages as a result of the discrimination
by the Boise School District?
ANSWER: YES__ NO__
If you answered “Yes” to Question No. 3, then proceed to Questions 4 and 5. If
you answered “No,” then proceed to Question No. 6.
QUESTION NO. 4: What is the total amount of pecuniary damages sustained by.
Plaintiffs as a result of discrimination by the Boise School District?
ANSWER: $
QUESTION NO. 5: What is the total amount of non-pecuniary damages sustained
by Matthew as a result of discrimination by the Boise School District?

ANSWER: $

SPECIAL VERDICT - 2
Case 1:11-cv-00119-CWD Document 127 Filed 07/26/13 Page 3 of 4

QUESTION NO. 6: Was Matthew denied a free and appropriate public education

by the Meridian School District?
ANSWER: YES ___ NO_X.
If you answered “Yes” to Question No. 6, then proceed to Question No. 7. If you

answered “No,” do not answer the remaining questions and proceed to signing the verdict

form.
QUESTION NO. 7: Did the Meridian School District discriminate. against

Matthew intentionally or with deliberate indifference by failing to provide Matthew with

a free and appropriate public education?

ANSWER: YES__—-NO___
If you answered “Yes” to Question No. 7, then proceed to Question No. 8. If you
answered “No,” do not answer the remaining questions and proceed to signing the verdict

form. .
QUESTION NO. 8: Did Plaintiffs sustain damages as a result of the discrimination
by the Meridian School District?
ANSWER: YES __NO__
If you answered “Yes” to Question No. 8, then proceed to Questions 9 and 10. If
you answered “No,” do not answer the remaining questions and proceed to signing the

verdict form.

SPECIAL VERDICT - 3
Case 1:11-cv-00119-CWD Document 127 Filed 07/26/13 Page 4 of 4

QUESTION NO. 9: What is the total amount of pecuniary damages sustained by
Plaintiffs as a result of discrimination by the Meridian School District?
ANSWER: $
QUESTION NO. 10: What is the total amount of non-pecuniary damages
sustained by Matthew as a result of discrimination by the Meridian School District?

ANSWER: $

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Presiding Juror Signature

SPECIAL VERDICT - 4
